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                 Exhibit D
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                         Defendants' Trial Exhibit List

                Exhibit No.          Plaintiffs' FRE Objection(s)
            DX-001                                N/A
            DX-002                                None
            DX-003                                None
            DX-004                                106
            DX-005                                None
            DX-006                                None
            DX-007                                None
            DX-008                                None
            DX-009                                None
            DX-010                                106
            DX-011                                106
            DX-012                                None
            DX-013                                None
            DX-014                                None
            DX-015                                None
            DX-016                                None
            DX-017                                None
            DX-018                                None
            DX-019                                None
            DX-020                                None
            DX-021                                None
            DX-022                                None
            DX-023                                None
            DX-024                           106; 403; 802
            DX-025                                106
            DX-026                                None
            DX-027                                None
            DX-028                                106
            DX-029                                None
            DX-030                                106
            DX-031                                None
            DX-032                                None
            DX-033                                106
            DX-034                                106
            DX-035                                None
            DX-036                              106; 403
            DX-037                                None
            DX-038                                None
            DX-039                                None
            DX-040                                106
            DX-041                                106
            DX-042                                None
            DX-043                                None
            DX-044                           106; 403; 802
            DX-045                                None
            DX-046                                106
            DX-047                                None
            DX-048                                None
            DX-049                                805
            DX-050                                None
            DX-051                                None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-052                         None
            DX-053                         None
            DX-054                         None
            DX-055                         None
            DX-056                       403; 805
            DX-057                         None
            DX-058                         None
            DX-059                         None
            DX-060                         None
            DX-061                         403
            DX-062                         None
            DX-063                         None
            DX-064                         None
            DX-065                         None
            DX-066                         None
            DX-067                         None
            DX-068                         None
            DX-069                         701
            DX-070                         None
            DX-071                         None
            DX-072                         None
            DX-073                         None
            DX-074                         None
            DX-075                         106
            DX-076                         None
            DX-077                         None
            DX-078                         805
            DX-079                         None
            DX-080                         None
            DX-081                         None
            DX-082                         None
            DX-083                         None
            DX-084                         None
            DX-085                         None
            DX-086                         None
            DX-087                         None
            DX-088                         None
            DX-089                         106
            DX-090                         None
            DX-091                         106
            DX-092                         805
            DX-093                         None
            DX-094                         None
            DX-095                         None
            DX-096                         None
            DX-097                         None
            DX-098                         805
            DX-099                         602
            DX-100                         106
            DX-101                         106
            DX-102                         None
            DX-103                         None
            DX-104                         None
            DX-105                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-106                         None
            DX-107                         None
            DX-108                         None
            DX-109                         None
            DX-110                         106
            DX-111                         None
            DX-112                         None
            DX-113                         None
            DX-114                         None
            DX-115                         None
            DX-116                         None
            DX-117                         None
            DX-118                         None
            DX-119                         None
            DX-120                         None
            DX-121                         None
            DX-122                         None
            DX-123                         None
            DX-124                         None
            DX-125                         None
            DX-126                         None
            DX-127                         None
            DX-128                         None
            DX-129                         None
            DX-130                         None
            DX-131                         None
            DX-132                         None
            DX-133                         None
            DX-134                         None
            DX-135                         None
            DX-136                         None
            DX-137                         None
            DX-138                         None
            DX-139                       403; 802
            DX-140                         None
            DX-141                         106
            DX-142                         106
            DX-143                         None
            DX-144                         None
            DX-145                         None
            DX-146                         402
            DX-147                         402
            DX-148                         402
            DX-149                         None
            DX-150                         None
            DX-151                         None
            DX-152                         None
            DX-153                         802
            DX-154                         802
            DX-155                         None
            DX-156                         None
            DX-157                         None
            DX-158                         None
            DX-159                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-160                         None
            DX-161                         None
            DX-162                         None
            DX-163                         802
            DX-164                         None
            DX-165                         None
            DX-166                         None
            DX-167                         802
            DX-168                         802
            DX-169                         802
            DX-170                         802
            DX-171                         802
            DX-172                         802
            DX-173                         802
            DX-174                         802
            DX-175                         None
            DX-176                         None
            DX-177                         None
            DX-178                         None
            DX-179                         None
            DX-180                         None
            DX-181                         802
            DX-182                         None
            DX-183                         802
            DX-184                         802
            DX-185                         802
            DX-186                         802
            DX-187                         802
            DX-188                         802
            DX-189                         802
            DX-190                         802
            DX-191                         802
            DX-192                         802
            DX-193                         802
            DX-194                         802
            DX-195                         802
            DX-196                         802
            DX-197                         802
            DX-198                         802
            DX-199                         802
            DX-200                       701; 802
            DX-201                         802
            DX-202                         None
            DX-203                         None
            DX-204                         None
            DX-205                         None
            DX-206                         None
            DX-207                       106; 802
            DX-208                         None
            DX-209                         602
            DX-210                         602
            DX-211                         None
            DX-212                       403; 602
            DX-213                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-214                         None
            DX-215                         None
            DX-216                         None
            DX-217                         None
            DX-218                         None
            DX-219                         None
            DX-220                         None
            DX-221                         602
            DX-222                         106
            DX-223                         None
            DX-224                         None
            DX-225                         106
            DX-226                         None
            DX-227                         None
            DX-228                         None
            DX-229                         None
            DX-230                         None
            DX-231                         106
            DX-232                         None
            DX-233                         None
            DX-234                         None
            DX-235                         None
            DX-236                         805
            DX-237                         None
            DX-238                         None
            DX-239                         None
            DX-240                         None
            DX-241                         None
            DX-242                         None
            DX-243                         None
            DX-244                         None
            DX-245                         106
            DX-246                         106
            DX-247                         805
            DX-248                       802; 805
            DX-249                       802; 805
            DX-250                         None
            DX-251                         None
            DX-252                         None
            DX-253                         None
            DX-254                         None
            DX-255                         805
            DX-256                         106
            DX-257                         106
            DX-258                         None
            DX-259                         None
            DX-260                         None
            DX-261                         None
            DX-262                         None
            DX-263                         None
            DX-264                         None
            DX-265                         None
            DX-266                         None
            DX-267                       802; 805
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-268                         None
            DX-269                         None
            DX-270                         106
            DX-271                         None
            DX-272                         None
            DX-273                         None
            DX-274                         None
            DX-275                         None
            DX-276                         None
            DX-277                         None
            DX-278                         None
            DX-279                         None
            DX-280                         None
            DX-281                         None
            DX-282                         None
            DX-283                         None
            DX-284                         106
            DX-285                         106
            DX-286                         106
            DX-287                         None
            DX-288                         None
            DX-289                         None
            DX-290                         None
            DX-291                         None
            DX-292                         None
            DX-293                         None
            DX-294                         None
            DX-295                         None
            DX-296                         None
            DX-297                         None
            DX-298                         None
            DX-299                         None
            DX-300                         None
            DX-301                         None
            DX-302                         None
            DX-303                         None
            DX-304                         None
            DX-305                         None
            DX-306                         None
            DX-307                         None
            DX-308                         None
            DX-309                         None
            DX-310                         None
            DX-311                         None
            DX-312                         106
            DX-313                         106
            DX-314                         None
            DX-315                         None
            DX-316                         None
            DX-317                         None
            DX-318                         None
            DX-319                         None
            DX-320                         None
            DX-321                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-322                         None
            DX-323                         None
            DX-324                         None
            DX-325                         106
            DX-326                         None
            DX-327                         None
            DX-328                         None
            DX-329                         None
            DX-330                         None
            DX-331                         None
            DX-332                         None
            DX-333                         None
            DX-334                         None
            DX-335                         None
            DX-336                         None
            DX-337                         None
            DX-338                         None
            DX-339                         None
            DX-340                         None
            DX-341                         None
            DX-342                         None
            DX-343                         None
            DX-344                         None
            DX-345                         None
            DX-346                         None
            DX-347                         None
            DX-348                         None
            DX-349                         None
            DX-350                         None
            DX-351                         None
            DX-352                         None
            DX-353                         None
            DX-354                         None
            DX-355                         None
            DX-356                         None
            DX-357                         None
            DX-358                         None
            DX-359                         None
            DX-360                         None
            DX-361                         None
            DX-362                         None
            DX-363                         None
            DX-364                         None
            DX-365                         None
            DX-366                         None
            DX-367                         None
            DX-368                         None
            DX-369                       802; 805
            DX-370                         None
            DX-371                         None
            DX-372                         None
            DX-373                         None
            DX-374                         None
            DX-375                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-376                         None
            DX-377                         None
            DX-378                       403; 802
            DX-379                         None
            DX-380                         None
            DX-381                         403
            DX-382                         None
            DX-383                         None
            DX-384                         None
            DX-385                       802; 805
            DX-386                         None
            DX-387                         None
            DX-388                         None
            DX-389                         None
            DX-390                         None
            DX-391                         None
            DX-392                         None
            DX-393                         None
            DX-394                         None
            DX-395                         None
            DX-396                         None
            DX-397                         None
            DX-398                         None
            DX-399                         None
            DX-400                         None
            DX-401                         None
            DX-402                         None
            DX-403                         None
            DX-404                         None
            DX-405                         None
            DX-406                         None
            DX-407                         None
            DX-408                         None
            DX-409                         None
            DX-410                         None
            DX-411                         None
            DX-412                         None
            DX-413                         None
            DX-414                         None
            DX-415                         None
            DX-416                         None
            DX-417                         None
            DX-418                         None
            DX-419                         None
            DX-420                         802
            DX-421                         None
            DX-422                         None
            DX-423                         None
            DX-424                         None
            DX-425                         None
            DX-426                         None
            DX-427                         None
            DX-428                         None
            DX-429                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-430                         None
            DX-431                         106
            DX-432                         106
            DX-433                         None
            DX-434                         None
            DX-435                         None
            DX-436                         None
            DX-437                         None
            DX-438                         None
            DX-439                         None
            DX-440                         None
            DX-441                         None
            DX-442                         106
            DX-443                         None
            DX-444                         None
            DX-445                         None
            DX-446                         None
            DX-447                         None
            DX-448                         None
            DX-449                         None
            DX-450                         None
            DX-451                         106
            DX-452                         None
            DX-453                         None
            DX-454                         None
            DX-455                         None
            DX-456                         None
            DX-457                         None
            DX-458                         None
            DX-459                         None
            DX-460                         602
            DX-461                         None
            DX-462                         None
            DX-463                         None
            DX-464                         602
            DX-465                         None
            DX-466                         None
            DX-467                         106
            DX-468                         106
            DX-469                         None
            DX-470                         None
            DX-471                         None
            DX-472                         None
            DX-473                         None
            DX-474                         None
            DX-475                         None
            DX-476                         802
            DX-477                         802
            DX-478                         None
            DX-479                         None
            DX-480                         None
            DX-481                         None
            DX-482                         None
            DX-483                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-484                         None
            DX-485                         None
            DX-486                         602
            DX-487                         602
            DX-488                         None
            DX-489                         None
            DX-490                         None
            DX-491                         None
            DX-492                         None
            DX-493                         None
            DX-494                         None
            DX-495                         None
            DX-496                         None
            DX-497                         None
            DX-498                         None
            DX-499                         None
            DX-500                         None
            DX-501                         None
            DX-502                         None
            DX-503                         None
            DX-504                         None
            DX-505                         None
            DX-506                         None
            DX-507                         None
            DX-508                         None
            DX-509                         None
            DX-510                         805
            DX-511                         None
            DX-512                         None
            DX-513                         None
            DX-514                         None
            DX-515                         None
            DX-516                         106
            DX-517                         106
            DX-518                         802
            DX-519                         802
            DX-520                         802
            DX-521                         802
            DX-522                         802
            DX-523                         802
            DX-524                         802
            DX-525                         802
            DX-526                         802
            DX-527                         802
            DX-528                         802
            DX-529                         802
            DX-530                         802
            DX-531                         802
            DX-532                         802
            DX-533                         802
            DX-534                         802
            DX-535                         802
            DX-536                         802
            DX-537                         802
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-538                         802
            DX-539                         802
            DX-540                         802
            DX-541                         802
            DX-542                         802
            DX-543                         802
            DX-544                         802
            DX-545                         802
            DX-546                         802
            DX-547                         802
            DX-548                         802
            DX-549                         None
            DX-550                         802
            DX-551                         802
            DX-552                         None
            DX-553                         None
            DX-554                         None
            DX-555                         802
            DX-556                         802
            DX-557                         None
            DX-558                         802
            DX-559                         802
            DX-560                         None
            DX-561                         802
            DX-562                         802
            DX-563                         802
            DX-564                         802
            DX-565                         802
            DX-566                         802
            DX-567                         802
            DX-568                         802
            DX-569                         None
            DX-570                         None
            DX-571                         None
            DX-572                         None
            DX-573                         None
            DX-574                         None
            DX-575                         None
            DX-576                         None
            DX-577                         None
            DX-578                         None
            DX-579                         None
            DX-580                         None
            DX-581                         None
            DX-582                         None
            DX-583                         None
            DX-584                         None
            DX-585                         None
            DX-586                         None
            DX-587                         None
            DX-588                         None
            DX-589                         None
            DX-590                         None
            DX-591                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-592                         None
            DX-593                         None
            DX-594                         None
            DX-595                         None
            DX-596                         None
            DX-597                         None
            DX-598                         None
            DX-599                         None
            DX-600                         None
            DX-601                         None
            DX-602                         None
            DX-603                         None
            DX-604                         None
            DX-605                         None
            DX-606                         None
            DX-607                         None
            DX-608                         None
            DX-609                         None
            DX-610                         None
            DX-611                         None
            DX-612                         None
            DX-613                         None
            DX-614                         None
            DX-615                         None
            DX-616                         None
            DX-617                         None
            DX-618                         None
            DX-619                         None
            DX-620                         None
            DX-621                         None
            DX-622                         None
            DX-623                         None
            DX-624                         None
            DX-625                         None
            DX-626                         None
            DX-627                         None
            DX-628                         None
            DX-629                         None
            DX-630                         None
            DX-631                         None
            DX-632                         None
            DX-633                         None
            DX-634                         None
            DX-635                         None
            DX-636                         None
            DX-637                         None
            DX-638                         None
            DX-639                         None
            DX-640                         None
            DX-641                         None
            DX-642                         None
            DX-643                         None
            DX-644                         None
            DX-645                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-646                         None
            DX-647                         None
            DX-648                         None
            DX-649                         None
            DX-650                         None
            DX-651                         None
            DX-652                         None
            DX-653                         None
            DX-654                         None
            DX-655                         None
            DX-656                         None
            DX-657                         None
            DX-658                         None
            DX-659                         None
            DX-660                         None
            DX-661                         None
            DX-662                         None
            DX-663                         None
            DX-664                         None
            DX-665                         None
            DX-666                         None
            DX-667                         None
            DX-668                         None
            DX-669                         None
            DX-670                         None
            DX-671                         None
            DX-672                         None
            DX-673                         None
            DX-674                         None
            DX-675                         None
            DX-676                         None
            DX-677                         None
            DX-678                         None
            DX-679                         None
            DX-680                         None
            DX-681                         None
            DX-682                         None
            DX-683                         None
            DX-684                         None
            DX-685                         None
            DX-686                         None
            DX-687                         None
            DX-688                         None
            DX-689                         None
            DX-690                         None
            DX-691                         None
            DX-692                         None
            DX-693                         None
            DX-694                         None
            DX-695                         None
            DX-696                         None
            DX-697                         None
            DX-698                         None
            DX-699                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-700                         None
            DX-701                         None
            DX-702                         None
            DX-703                         None
            DX-704                         None
            DX-705                         None
            DX-706                         None
            DX-707                         None
            DX-708                         None
            DX-709                         None
            DX-710                         None
            DX-711                         None
            DX-712                         None
            DX-713                         None
            DX-714                         None
            DX-715                         None
            DX-716                         None
            DX-717                         None
            DX-718                         None
            DX-719                         None
            DX-720                         802
            DX-721                         None
            DX-722                       802; 901
            DX-723                         None
            DX-724                         None
            DX-725                         None
            DX-726                         None
            DX-727                         None
            DX-728                         None
            DX-729                         None
            DX-730                         None
            DX-731                         402
            DX-732                         None
            DX-733                         None
            DX-734                         None
            DX-735                         None
            DX-736                         None
            DX-737                         None
            DX-738                         None
            DX-739                         None
            DX-740                         None
            DX-741                         None
            DX-742                         None
            DX-743                         None
            DX-744                         None
            DX-745                         None
            DX-746                         None
            DX-747                         None
            DX-748                         None
            DX-749                         None
            DX-750                         None
            DX-751                         None
            DX-752                         None
            DX-753                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-754                         None
            DX-755                         None
            DX-756                         None
            DX-757                         None
            DX-758                         None
            DX-759                       403; 703
            DX-760                       403; 703
            DX-761                       106; 802
            DX-762                       106; 802
            DX-763                       106; 802
            DX-764                       106; 802
            DX-765                         None
            DX-766                         None
            DX-767                         None
            DX-768                         None
            DX-769                         None
            DX-770                         None
            DX-771                         None
            DX-772                         None
            DX-773                         None
            DX-774                         None
            DX-775                         None
            DX-776                         None
            DX-777                         None
            DX-778                         None
            DX-779                         None
            DX-780                         None
            DX-781                         None
            DX-782                         None
            DX-783                         None
            DX-784                         None
            DX-785                         None
            DX-786                         None
            DX-787                         None
            DX-788                         None
            DX-789                         None
            DX-790                         None
            DX-791                         None
            DX-792                         None
            DX-793                         None
            DX-794                         None
            DX-795                         None
            DX-796                         None
            DX-797                         None
            DX-798                         None
            DX-799                         None
            DX-800                         None
            DX-801                         None
            DX-802                         None
            DX-803                         None
            DX-804                         None
            DX-805                         None
            DX-806                         None
            DX-807                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-808                         None
            DX-809                         None
            DX-810                         None
            DX-811                         None
            DX-812                         None
            DX-813                         None
            DX-814                         None
            DX-815                         None
            DX-816                         None
            DX-817                         None
            DX-818                         None
            DX-819                         None
            DX-820                         None
            DX-821                         None
            DX-822                         None
            DX-823                         None
            DX-824                         None
            DX-825                         None
            DX-826                         None
            DX-827                         None
            DX-828                         None
            DX-829                         None
            DX-830                         None
            DX-831                         None
            DX-832                         None
            DX-833                         None
            DX-834                         None
            DX-835                         None
            DX-836                         None
            DX-837                         None
            DX-838                         None
            DX-839                         None
            DX-840                         None
            DX-841                         None
            DX-842                         None
            DX-843                         None
            DX-844                         None
            DX-845                         None
            DX-846                         None
            DX-847                         None
            DX-848                         None
            DX-849                         None
            DX-850                         None
            DX-851                         None
            DX-852                         None
            DX-853                         None
            DX-854                         None
            DX-855                         None
            DX-856                         802
            DX-857                         802
            DX-858                         802
            DX-859                         802
            DX-860                         802
            DX-861                         802
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-862                         802
            DX-863                         802
            DX-864                         802
            DX-865                         802
            DX-866                         802
            DX-867                         802
            DX-868                         802
            DX-869                         802
            DX-870                         802
            DX-871                         802
            DX-872                         802
            DX-873                         802
            DX-874                         802
            DX-875                         802
            DX-876                         802
            DX-877                         802
            DX-878                         802
            DX-879                         802
            DX-880                         802
            DX-881                         802
            DX-882                         802
            DX-883                         802
            DX-884                         802
            DX-885                         802
            DX-886                         802
            DX-887                         802
            DX-888                         802
            DX-889                         802
            DX-890                         802
            DX-891                         802
            DX-892                         802
            DX-893                         802
            DX-894                         802
            DX-895                         802
            DX-896                         802
            DX-897                         802
            DX-898                         802
            DX-899                         802
            DX-900                         802
            DX-901                         802
            DX-902                         802
            DX-903                         802
            DX-904                         802
            DX-905                         802
            DX-906                         802
            DX-907                         802
            DX-908                         802
            DX-909                         802
            DX-910                         802
            DX-911                         802
            DX-912                         802
            DX-913                         802
            DX-914                         802
            DX-915                         802
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-916                         802
            DX-917                         802
            DX-918                         802
            DX-919                         802
            DX-920                         802
            DX-921                         802
            DX-922                         802
            DX-923                         802
            DX-924                         802
            DX-925                         802
            DX-926                         802
            DX-927                         802
            DX-928                         802
            DX-929                         802
            DX-930                         802
            DX-931                         802
            DX-932                         802
            DX-933                         802
            DX-934                         802
            DX-935                         802
            DX-936                         802
            DX-937                         802
            DX-938                         802
            DX-939                         802
            DX-940                         802
            DX-941                         802
            DX-942                         802
            DX-943                         802
            DX-944                         802
            DX-945                         802
            DX-946                         802
            DX-947                         802
            DX-948                         802
            DX-949                         802
            DX-950                         802
            DX-951                         802
            DX-952                         802
            DX-953                         802
            DX-954                         802
            DX-955                         802
            DX-956                         802
            DX-957                         802
            DX-958               Reserve rights to object
            DX-959               Reserve rights to object
            DX-960                         None
            DX-961                         None
            DX-962                         None
            DX-963                         None
            DX-964                         None
            DX-965                         None
            DX-966                         None
            DX-967                         None
            DX-968                         None
            DX-969                         None
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                Exhibit No.   Plaintiffs' FRE Objection(s)
            DX-970                         None
            DX-971                         None
            DX-972                         None
            DX-973                         None
            DX-974                         None
            DX-975                         None
            DX-976                         None
            DX-977                         None
            DX-978                         None
            DX-979                         None
            DX-980                         None
            DX-981                         None
            DX-982                         None
            DX-983                         None
            DX-984                         None
            DX-985                         None
            DX-986                         None
            DX-987                         None
            DX-988                         None
            DX-989                         None
            DX-990                         None
            DX-991                         None
            DX-992                         None
            DX-993                         None
            DX-994                         None
            DX-995                         None
            DX-996                         None
            DX-997                         None
            DX-998                         None
            DX-999                         None
            DX-1000                        None
            DX-1001                        None
            DX-1002                        None
            DX-1003                        None
            DX-1004                        None
            DX-1005                        None
            DX-1006                        None
            DX-1007                        None
            DX-1008                        None
            DX-1009                        None
            DX-1010                        None
            DX-1011                        None
            DX-1012                        None
            DX-1013                        None
            DX-1014                        None
            DX-1015                        None
            DX-1016                        None
            DX-1017                        None
            DX-1018                        None
            DX-1019                        None
            DX-1020                        None
            DX-1021                        None
            DX-1022                        None
            DX-1023                        None
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                Exhibit No.    Plaintiffs' FRE Objection(s)
            DX-1024                         None
            DX-1025                         None
            DX-1026                         None
            DX-1027                         None
            DX-1028                         None
            DX-1029                         None
            DX-1030                         None
            DX-1031                         None
            DX-1032                         None
            DX-1033           Violates Rule 26 and CMO; 802
            DX-1034           Violates Rule 26 and CMO; 802
            DX-1035           Violates Rule 26 and CMO; 802
            DX-1036           Violates Rule 26 and CMO; 802
            DX-1037           Violates Rule 26 and CMO; 802
            DX-1038           Violates Rule 26 and CMO; 802
            DX-1039           Violates Rule 26 and CMO; 802
            DX-1040           Violates Rule 26 and CMO; 802
            DX-1041           Violates Rule 26 and CMO; 802
            DX-1042           Violates Rule 26 and CMO; 802
            DX-1043           Violates Rule 26 and CMO; 802
            DX-1044           Violates Rule 26 and CMO; 802
            DX-1045           Violates Rule 26 and CMO; 802
            DX-1046           Violates Rule 26 and CMO; 802
            DX-1047           Violates Rule 26 and CMO; 802
            DX-1048           Violates Rule 26 and CMO; 802
            DX-1049           Violates Rule 26 and CMO; 802
            DX-1050           Violates Rule 26 and CMO; 802
            DX-1051           Violates Rule 26 and CMO; 802
            DX-1052           Violates Rule 26 and CMO; 802
            DX-1053           Violates Rule 26 and CMO; 802
            DX-1054           Violates Rule 26 and CMO; 802
            DX-1055                         802
            DX-1056                         802
            DX-1057           Violates Rule 26 and CMO; 802
            DX-1058           Violates Rule 26 and CMO; 802
            DX-1059                       106; 802
            DX-1060                       106; 802
            DX-1061                       106; 802
            DX-1062                       106; 802
            DX-1063                       106; 802
            DX-1064                       106; 802
            DX-1065                       106; 802
            DX-1066                       106; 802
            DX-1067                       106; 802
            DX-1068                       106; 802
            DX-1069           Violates Rule 26 and CMO; 802
            DX-1070                         None
            DX-1071                         None
            DX-1072                         None
            DX-1073                         None
            DX-1074                         None
